            Case 18-57289-pmb             Doc 7       Filed 05/03/18 Entered 05/03/18 06:26:35                      Desc Main
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                                                  IN THE UNITED STATES BANKRUPTCY COURT
                                                  FOR THE NORTHERN DISTRICT OF GEORGIA

In RE:             AMAZETTA SATA GUEH                                 §           Case Number:         18-57289-PB -13
                                                                      §
                   Debtor(s)                                          §           Chapter:        13

                                        REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                 PLEASE TAKE NOTICE THAT Exeter Finance LLC hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LP hereby requests that:
                 (i)          all notices given or required to be given in the case; and
                 (ii)         all pleadings and correspondence served or required to be served in this case,
         regarding Exeter Finance LLC should be directed to AIS Portfolio Services, LP at the following mailing address
         effective immediately:

                Attn: Exeter Finance LLC Department
                AIS Portfolio Services, LP
                Account: XXX3203
                4515 N Santa Fe Ave. Dept. APS
                Oklahoma City, OK 73118

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                       Respectfully submitted,

                                                                       /s/ Sejal Parmar
                                                                       Sejal Parmar
                                                                       Claims Processor
                                                                       Bankruptcy Servicer for Exeter Finance LLC
                                                                       AIS Portfolio Services, LP
                                                                       4515 N Santa Fe Ave. Dept. APS
                                                                       Oklahoma City, OK 73118
                                                                       (817)277-2011, Fax (817) 461-8070
                                                                       ecfnotices@ascensioncapitalgroup.com
                                                                       File # 1198352
